 Case 2:12-cv-07611-RGK-PJW Document 70 Filed 12/20/12 Page 1 of 2 Page ID #:548
                                                                                                  JS-6
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
    Case No.       CV 12-07611-RGK (PJWx)                                    Date      December 20, 2012
    Title          Vardanian v. Chase Bank U.S.A., N.A., et al.




 Present: The                 R. GARY KLAUSNER, U.S. DISTRICT JUDGE
 Honorable
 Sharon L. Williams (Not Present)                           Not Reported                                 N/A
             Deputy Clerk                            Court Reporter / Recorder                        Tape No.
            Attorneys Present for Plaintiffs:                          Attorneys Present for Defendants:
                      Not Present                                                   Not Present
 Proceedings:              (IN CHAMBERS) Order Re: Plaintiff’s Response to the Court’s Dec. 7,
                           2012 Order to Show Cause & Dismissal of Defendants Mainstreet
                           Acquisitions, LLC, and GE Capital Retail Bank


       On September 10, 2012, Plaintiff Gagik Vardanian (“Plaintiff”) filed a Complaint against ten
defendants (“Defendants”) for violations of fair credit reporting and debt collection statutes. Seven
Defendants moved for dismissal, which the Court granted as to those Moving Defendants on December
6, 2012, leaving two remaining defendants in this action who did not file their own motions: (1)
Mainstreet Acquisitions, LLC, and (2) GE Capital Retail Bank (“Remaining Defendants”).1

        On December 7, 2012, the Court ordered Plaintiff to show cause in writing by December 14,
2012, why all claims should not also be dismissed as to Remaining Defendants. On December 12, 2012,
Plaintiff responded to the Order. However, Plaintiff’s contentions as to why Remaining Defendants
should not be dismissed were vague, conclusory, and unsupported by any authority. Thus, the Complaint
and Plaintiff’s response fails to provide Remaining Defendants adequate notice of the claims against
them. Fed. R. Civ. P. 8, 12(b)(6). Further, Plaintiff fails to address the defects outlined in Moving
Defendants’ Motion to Dismiss and the Court’s Dec. 6, 2012 Order granting the motion. Accordingly,
the Court finds Plaintiff has failed to show adequate cause why Remaining Defendants should not be
dismissed.




            1
             In its Order to Show Cause, the Court also noted that Defendant Equable Ascent Financial, LLC
   (“Equable”) was a Remaining Defendant. The Court addressed the claims as to Equitable separately in a
   concurrently issued Order.
   CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                        Page 1 of 2
 Case 2:12-cv-07611-RGK-PJW Document 70 Filed 12/20/12 Page 2 of 2 Page ID #:549
      For foregoing reasons, the Court DISMISSES Defendants Mainstreet Acquisitions, LLC, and
GE Capital Retail Bank.

       IT IS SO ORDERED.

                                                                                    :
                                                  Initials of Preparer




   CV-90 (06/04)                     CIVIL MINUTES - GENERAL                            Page 2 of 2
